                                          Case 3:23-cv-02880-JSC Document 317 Filed 07/13/23 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                       Case No. 23-cv-02880-JSC
                                                       Plaintiff,
                                   8
                                                                                         ORDER DENYING PLAINTIFF’S
                                                 v.                                      MOTION FOR INJUNCTION
                                   9
                                                                                         PENDING APPEAL
                                  10     MICROSOFT CORPORATION, et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The FTC asks this Court to enjoin the merger at issue pending resolution of the FTC’s

                                  14   appeal to the Ninth Circuit Court of Appeals. (Dkt. No. 313.) The motion is DENIED. See Dkt.

                                  15   No. 305 at 51-52.

                                  16          IT IS SO ORDERED.

                                  17   Dated: July 13, 2023

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                                                                                                 JACQUELINE SCOTT CORLEY
                                  19                                                             United States District Judge
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